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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA, )
) Case No. 3:19-cv-61 1-jdp

Plaintiff, )

)

Vv. )

)

SHERYL ALEKSINSKI, }

GINGER ALEKSINSKI, and }

OFFICE OF THE TREASURER, )

VILAS COUNTY, WISCONSIN, )

)

Defendants. )

)

ORDER AND JUDGMENT

 

This matter comes before the Court on the Stipulation between the plaintiff United States
of America and defendants Sheryl Aleksinski, Ginger Aleksinski, and the Office of the Treasurer
of Vilas County, Wisconsin (“Vilas County”) for entry of final judgment and order of sale in the
above-captioned case. (ECF No. 24 (hereinafter “Stipulation”).) In the Stipulation, the parties
agree and stipulate that an in rem judgment should be entered in favor of the United States and
against all defendants as to the relief sought in the United States’ complaint, namely, that the
federal tax liens relating to Sheryl Aleksinski’s unpaid 2007, 2008, and 2010 through 2015
federal income tax liabilities may be enforced against her interests in two parcels of real property
located at and adjacent to 13840 Ilg Road, Manitowish Waters, Wisconsin 54545 (“Manitowish
Waters Properties”) and that the Manitowish Waters Properties shall be sold, with the proceeds
distributed according to the order of priority agreed to in the Stipulation.

Accordingly, and for good cause shown, it is hereby
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ORDERED that the Stipulation between the United States and defendants Sheryl
Aleksinski, Ginger Aleksinski, and Vilas County (ECF. No. 24) is APPROVED; and it is further

ORDERED, ADJUDGED, AND DECREED that:

1. The United States’ federal tax liens regarding Sheryl Aleksinski’s 2007, 2008,
and 2010 through 2015 federal income tax liabilities are valid and subsisting liens in favor of the
United States that attached all property and rights to property belonging to Sheryl Aleksinski,
including her interest in the Manitowish Waters Properties.

2. The federal tax liens described in { 1 above are enforced against all of Sheryl
Aleksinski’s property and property rights, including her interests in the Manitowish Waters
Properties, and the Manitowish Waters Properties shall be sold pursuant to a separate order of
this Court. Within 90 days of this order, the United States shall submit a proposed order of sale
regarding the Manitowish Waters Properties, and the United States may also within that time
move for the appointment of a receiver to take custody of and arrange for the sale of the
Properties pursuant to 26 U.S.C. § 7403(d).

3. The proceeds from any sale(s) of the Manitowish Waters Properties shall be
distributed as follows:

a. First, for the payment of reasonable costs incurred for the sale(s) of the

Properties, either to the United States (if it causes the sale(s) of the Manitowish Waters

Properties through the IRS Property Appraisal and Liquidation Specialists (“PALS”)

Office) or to such other entity or individual as the Court may appoint to sell the

Properties;
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b. Second, to Vilas County for real property taxes and other local

assessments that may be due and owing and are entitled to priority under 26 U.S.C.

§ 6323(b)(6);
c. Third, the remaining net sale proceeds shall be divided and paid as
follows:
i. 25% to Ginger Aleksinski; and
il. 75% to the United States, up to the total amount of the outstanding

balance due for Sheryl Aleksinski’s unpaid federal income tax liabilities for tax

years 2007, 2008, and 2010 through 2015.

d. If there are any remaining net sale proceeds following the distributions
identified in ff 3(a) through 3{c) above, then the remaining proceeds shall be paid to
Sheryl Aleksinski.

The Clerk of the Court shall enter this judgment forthwith.

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hay of LOCYER , 2021.

Done this (4

(Be? T2foro—

JAMES D. PETERSON
United States District Judge
